                                                                               Case 3:17-cv-00939-WHA Document 2498 Filed 01/18/18 Page 1 of 1



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                                                                          5                              IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   WAYMO LLC,                                                 No. C 17-00939 WHA
                                                                         10                 Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                         ORDER RE SEALING OF
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                   ORDER ON DAUBERT
                                                                         13   OTTOMOTTO LLC; and OTTO                                    MOTION RE LAMBERTUS
                                                                              TRUCKING LLC,                                              HESSELINK
                                                                         14                 Defendants.
                                                                         15                                              /

                                                                         16          The order on defendants’ Daubert motion to exclude opinions proffered by Lambertus
                                                                         17   Hesselink, filed under seal today, shall remain under seal until TOMORROW AT 11:00 P.M., after
                                                                         18   which the order shall be redacted as shown in Exhibit A and filed on the public docket unless
                                                                         19   one or more parties propose additional redactions.
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                                                                         21          IT IS SO ORDERED.
                                                                         22
                                                                         23   Dated: January 18, 2018.
                                                                         24                                                          WILLIAM ALSUP
                                                                                                                                     UNITED STATES DISTRICT JUDGE
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